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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X                       7/11/2022


In re:
                                                                          03-MD-01570 (GBD)(SN)
         TERRORIST ATTACKS ON
         SEPTEMBER 11, 2001                                                       ORDER

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SARAH NETBURN, United States Magistrate Judge:

This document relates to:

         Ashton, et al., v. al Qaeda Islamic Army, et al., No. 02-cv-6977
         Schneider, et al., v. al Qaeda Islamic Army, et al., No. 02-cv-7209
         Bauer, et al., v. al Qaeda Islamic Army, et al., No. 02-cv-7236
         Burlingame, et al., v. Bin Laden, et al., No. 02-cv-7230
         Burnett, et al., v. Al Baraka Inv. & Dev. Corp., et al., No. 03-cv-9849
         Estate of John P. O’Neil, Sr., et al., v. the Republic of Iraq, et al., No. 04-cv-1076
         Hoglan, et al. v. Islamic Republic of Iran et al., No. 11-cv-07550
         Ryan, et al., v. Islamic Republic of Iran, et al., No. 20-cv-0266
         Hamilton, et al., v. Islamic Republic of Iran, No. 20-cv-10366

         The fall of Afghanistan to the Taliban prompted numerous motions for default judgments

against this terror group. Default judgments have already been issued against the Islamic

Republic of Iran, and many of these new defaults follow the form of those motions. The Court’s

review, however, demonstrates that this format is not viable for a non-sovereign defendant like

the Taliban. Additionally, the format of these motions, particularly when applied to thousands of

plaintiffs, makes it impossible for the Court to adjudicate these motions efficiently. Accordingly,

the pending default judgment motions against the Taliban are denied with leave to refile

according to this Order’s requirements.

         The plaintiffs in Burnett, et al. v. Al Baraka Inv. & Dev. Corp., et al., No. 03-cv-9849,

(the “Burnett Plaintiffs”) also request guidance on obtaining default for plaintiffs who are not a
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     party to an action against the Taliban or whose motion requires a case-by-case adjudication. The

     Court also addresses these issues. ECF No. 7847.

                                              BACKGROUND

            The Court assumes familiarity with the general background of this multidistrict litigation

     (“MDL”). It addresses only the facts germane to this order. These default judgments came about

     because of the collapse of Afghanistan and concomitant rise of the Taliban. In August 2021, the

     Islamic Republic of Afghanistan, Afghanistan’s former government, fell after a sustained

     Taliban assault. Very shortly after, plaintiffs in the Havlish member case, who had a default

     judgment against the Taliban, obtained a writ of execution. This writ targets assets held by Da

     Afghanistan Bank, the Afghan central bank. On the heels of that writ, a large number of

     plaintiffs moved for similar default judgments against the Taliban. ECF Nos. 7489, 7516, 7594,

     7634, 7652, 7756, 7758, 7805, 7843, 7847. These defaults seek economic, compensatory, and

     solatium damages. Some also seek treble damages under the Antiterrorism Act (“ATA”).

            The Burnett Plaintiffs make two further requests. First, they ask the Court to extend

     liability and damages determinations to entities that are not presently included in actions against

     the Taliban. Second, they request guidance on applying for default judgments for plaintiffs with

     personal injury claims against the Taliban, and claims based on a plaintiff being functionally

     equivalent to the immediate family of a person who died in the September 11 terrorist attacks.

                                                DISCUSSION

I.      Default Judgment Format For Non-Sovereign Defendants

            The default judgment motions made by the plaintiffs do not provide the Court with

     sufficient information to adjudicate these motions accurately or efficiently. The parties seek

     damages against the Taliban on a variety of theories of liability including the ATA. Under this

     statute“[a]ny national of the United States injured in his or her person, property . . . shall recover
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threefold the damages he or she sustains and the cost of the suit, including attorney’s fees.” 18

U.S.C. § 2333(a). “Shall” indicates awarding treble damages is mandatory if liability is

established. United States v. Kahn, 5 F.4th 167, 174 (2d Cir. 2021) (“The word ‘shall,’ in a

statute, indicates a command; what follows the word ‘shall’ is ‘mandatory, not precatory.’”)

(quoting Mach Mining, LLC v. Equal Employment Opportunity Commission, 575 U.S. 480, 486

(2015)).

       In several of the pending requests, the plaintiffs’ complaint includes a cause of action

under the ATA. See, e.g., ECF No. 1463 at ¶¶ 476–79. Judgments, however, are sought on behalf

of both parties who are eligible for the ATA’s mandatory treble damages award and parties who

are not be eligible because neither they nor any relevant decedent is a U.S. national. Thus, to

accurately assess when the ATA’s mandatory treble damages provision applies to a plaintiff, the

Court needs to know whether a party seeks damages under the ATA, and if so, the U.S. national

status of the party and any relevant decedent. The existing motions do not consistently provide

this information.

       Additionally, these motions do not contain sufficient information for the Court to

adjudicate these motions efficiently. Several motions seek damages based on a prior award

against Iran. Supporting materials, however, frequently do not indicate where the document

reflecting that award is on ECF. In several cases, a party’s name is listed differently on that

original award and the one now sought. It is also unclear from the parties’ papers if a plaintiff

was added to a complaint against the Taliban and if so, where and when they were added. The

Court has addressed issues such as these in default actions against Iran with case-by-case orders.

Even with the aid of a special master, this one-off approach is not viable where defaults are being

sought for several thousand plaintiffs simultaneously.



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        Given these issues, all future motions for default against non-sovereign defendants shall

comply with the requirements in this section. Motions for default judgments against non-

sovereign defendants must include the following information as part of the supporting exhibits

for each plaintiff for whom a judgment is sought:

    x   The ECF number of the document adding the plaintiff to the complaint against the
        relevant defendant. It is not sufficient that a plaintiff was added to an action against a
        different defendant;1

    x   The ECF number of the document (if any) determining liability between that plaintiff and
        defendant;

    x   The nationality of the plaintiff and any decedent relevant to the adjudication of liability
        and damages;

    x   The cause of action or causes of action for which the plaintiffs seek damages, including
        whether damages are sought under the ATA. If damages for multiple causes of action are
        identical, only the causes of action relevant to the sum of damages sought must be listed;

    x   If damages are sought under the ATA, the calculation of trebled damages;

    x   If damages are sought based in part on a prior award of damages (e.g., personal injury or
        economic damages), the case and ECF numbers of that award;

    x   If damages or liability are sought in part based on a prior entry of default judgment, and
        the plaintiff’s name differs, the name under which judgment was previously entered as
        well as an affirmation in the supporting declaration that all such parties are the same;2
        and

    x   If damages are sought based in part on a prior determination that the plaintiff is
        functionally equivalent to an immediate family member, the case and ECF numbers of
        that determination.




1
 Several short form complaints and notices of amendment authorized by the Court note that the
complaint or amendment relates solely to a specific defendant and does not apply to any other defendant.
See, e.g., ECF No. 5234 at 7, 26, 31.
2
 This requirement may be relevant when a default judgment was obtained for a minor child, referred to
only by their initials, who now moves under their full name. Another example is when the plaintiff’s
name has changed in the intervening years.


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       For all ECF citations, if the document is not contained on the main MDL docket, 03-md-

1570, then it should also include the case number.

       Proposed orders granting default judgment must indicate that it is not binding on the

determination of damages for defendants besides the one against whom default judgment is

being sought. See, e.g., ECF No. 2582 at 3. It must also identify which motions should be

terminated by the Court’s order. This includes the motions on both the MDL docket and on the

docket for the supporting member cases.

       All requests for default judgments must also comply with the other safeguards for default

judgments ordered by this Court and the requirements for default judgments in this District’s

Local Rules and Electronic Case Filing rules.

       Finally, the Court has, and will continue to permit parties to seek different types of

damages iteratively (e.g., seeking solatium damages in one motion and economic damages in

another). For each type of damage sought, however, any trebling must be sought as part of the

default judgment motion seeking that type of damage. For example, if a party seeks solatium

damages as part of an ATA claim, those damages must be trebled. A party may not seek solatium

damages in one partial default judgment motion and then seek to treble them as part of a separate

default judgment motion. They may, consistent with prior practice, seek treble solatium damages

as part of default judgment request and then a separate type of treble damages such as economic

damages as part of a separate request.




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              None of the present motions for default judgment, collected in Table 1, substantially

      complies with these requirements. Accordingly, they are dismissed without prejudice and with

      leave to refile under the terms of this order.

                       Table 1: Motions to Be Dismissed Without Prejudice to Renew
          MDL Motion (ECF No. )                              Supporting Motions (ECF No.)
                 7489                                         Ashton, No. 02-cv-6977, 1576
                 7516                                         Ashton, No. 02-cv-6977, 1581
                                                               Bauer, No. 02-cv-7236, 132
                     7594                                     Ashton, No. 02-cv-6977, 1588
                                                             Burlingame, No. 02-cv-7230, 182
                     7634                                     Ashton, No. 02-cv-6977, 1597
                                                             Burlingame, No. 02-cv-7230, 187
                     7652                                        O’Neil, No. 04-cv-1076, 604
                     7756                                     Ashton, No. 02-cv-6977, 1616
                                                             Burlingame, No. 02-cv-7230, 194
                                                                Ryan, No. 20-cv-0266, 80
                     7758                                     Ashton, No. 02-cv-6977, 1618
                                                               Bauer, No. 02-cv-7236, 139
                                                                Ryan, No. 20-cv-0266, 82
                     78053                                    Schneider, No. 02-cv-7209, 76
                                                            Hamilton, No. 20-cv-10366, 39, 40
                                                            Hoglan, No. 11-cv-07550, 381, 382
                     7843                                     Burnett, No. 03-cv-9849, 958
                     7847                                        Burnett, No. 03-cv-9849, 962
                     8181                                        O’Neil, No. 04-cv-1076, 646


II.       Extension of Awards to Non-Appearing Parties

              The Burnett Plaintiffs request default judgments for plaintiffs who have not been added

      to a complaint against the Taliban. The Court has identified no precedent that would permit this

      request. It is therefore denied.




      3
        It appears that this motion was filed in error in several unrelated cases. See, e.g., Hamilton, et al. v.
      Islamic Republic of Iran, No. 20-cv-10366, ECF Nos. 39, 40.
                                                             6
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        The Burnett Plaintiffs’ argument relies on the default judgment granted to them against

the Taliban. ECF No. 1756. This granted a judgment for several thousand named parties.4 It also

included an entry for “ADDITIONAL PLAINTIFFS #1 THRU 5,000 (AP200 thru AP5,200)”

(“ADDITIONAL PLAINTIFFS”).5 They do not argue that “ADDITIONAL PLAINTIFFS”

refers to actual parties who proceeded under a pseudonym or who were not named but whose

interests were represented by a named party. See ECF No. 7848 at 13. Rather, they argue that

this language allows parties with comparable claims against the Taliban to retroactively obtain

awards based on the entry of a default that they were not named in. In effect, they argue that

“ADDITIONAL PLAINTIFFS” has covertly converted Burnett into a class action.

        The Burnett Plaintiffs have identified no precedent suggesting that one may initiate a

lawsuit with a placeholder for an unknown and unidentified set of plaintiffs, obtain a default

judgment for them, then retroactively adopt suitable litigants. Approving this would contradict

foundational concepts of federal civil litigation. If permitted, it would make assessing subject

matter jurisdiction in diversity cases impossible because the litigants and their citizenship are

unknown. It would undercut Rule 23’s class action procedures by allowing actions by a broad

mass of unknown parties who could proceed without that Rule’s safeguards. It would make the

application of res judicata unworkable if parties to a judgment are determined retroactively.




4
  The supporting exhibit for that judgment is not on ECF. ECF No. 1756. The Burnett Plaintiffs report
that the judgment was for 5,513 named plaintiffs. ECF No. 7848 at 5 n.6.
5
 This exhibit is not on ECF. It appears in the amended complaint in that matter, which was filed in the
District Court for the District of Columbia. Burnett, et al. v. Al Barak Inv. & Dev. Corp., et al., No. 02-
cv-1616 (Aug. 15, 2002), ECF No. 29 at 189. Nothing in that complaint clarifies the meaning of
“ADDITIONAL PLAINTIFFS #1 THRU 5,000 (AP200 thru AP5,200).”
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               The Court recognizes that many plaintiffs wish to participate in this action. It will

       entertain reasonable proposals to facilitate this. These proposals, however, must conform to the

       basic requirements of civil litigation.

III.       Applications for Personal Injury and Functional Equivalent Family Members

               The Burnett Plaintiffs also request guidance on applying for default judgments for

       plaintiffs whose award require particularized consideration. These are primarily plaintiffs

       seeking damages for personal injuries sustained on September 11 or on the basis that they are

       functionally equivalent to an immediate family member who died. ECF No. 7848 at 10–13. The

       Burnett Plaintiffs suggest that it may be appropriate to appoint a special master to adjudicate

       these claims. Id. at 12.

               The Court has a framework for motions seeking damages for personal injuries or based

       on the functional equivalent status of the claimant. See, e.g., ECF No. 7323 (personal injury

       defaults), 5483 (functional equivalents). This is the proper mechanism for adjudicating these

       claims and the Court does not find that a special master will aid in this adjudication at this time.

                                                 CONCLUSION

               The motions in Table 1 are dismissed without prejudice to renew. The Clerk of the Court

       is respectfully directed to terminate them. These motions may be refiled in compliance with this

       order. This order applies to all future motions seeking default judgments against non-sovereign

       defendants.

       SO ORDERED.




       Dated: July 11, 2022
              New York, New York



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